 Case 1:19-cv-01632-AJT-JFA Document 3 Filed 01/06/20 Page 1 of 2 PageID# 16




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


Joseph Ruhren,
       Movant,

V.                                                                     I;19cvl632(AJT/JFA)

United States District Court,
      Respondent.

                                               ORDER


       Joseph Ruhren is an inmate in Red Onion State Prison serving four life sentences for the

sexual abuse of minor boys.       [Dkt. No. 1]. Ruhren states that he is "currently preparing his

state habeas corpus petition," and he has filed in this Court a pro se "Motion for Discovery."

id. In his "Motion for Discovery," Ruhren cites Rule 7 of the Rules Governing Section 2254

Cases in the United States District Courts and requests an order compelling the production of

"exculpatory evidence" for use in his prospective state habeas proceedings. Id. at 1.

       Ruhren's motion must be denied for at least two reasons. First, Ruhren does not have a

§ 2254 petition pending in this Court, so Rule 6("Discovery") and Rule 7("Expanding the

Record")ofthe Rules Governing Section 2254 Proceedings in the United States District Courts

are inapplicable. And,second, even if Ruhren had a § 2254 petition pending in this Court,

discovery is seldom granted in federal habeas proceedings."A habeas petitioner, unlike the usual

civil litigant in federal court, is not entitled to discovery as a matter of course." Bracv v.

Gramlev. 520 U.S. 899,904(1997). He must demonstrate "good cause." 28 U.S.C. foil. § 2254,

Rule 6(a). "Ordinarily, we presume that public officials have properly discharged their official

duties." Bracv. 520 U.S. at 909(internal quotation marks and citation omitted). Ruhren's

speculative allegations of misconduct by FBI agents during the course of a joint state and federal
Case 1:19-cv-01632-AJT-JFA Document 3 Filed 01/06/20 Page 2 of 2 PageID# 17
